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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

BPP,                                )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )
                                    )
HENRY SCHEIN PRACTICE SOLUTIONS,    )                        Cause No. 4:17-cv-01370-JAR
INC., and INTEGRATED MEDIA          )
SOLUTIONS d/b/a                     )
INTEGRATED MEDIA SOLUTIONS, LLC and )
d/b/a DENTAL PRODUCT SHOPPER,       )
                                    )
                  Defendants.       )
                                    )

               STIPULATION FOR DISMISSAL WITHOUT PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff BPP (“BPP”)

voluntary dismisses Defendant Henry Schein Practice Solutions, Inc. (“HSPS”) from this matter

without prejudice, with BPP and HSPS bearing their own costs. This stipulation is signed on

behalf of all parties who have appeared in this matter, as required under Rule 41(a)(1)(A)(ii).



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                                   Certificate of Service

       I certify that on November 21, 2017, a copy of this document was filed electronically
with the Clerk of this Court, causing automated delivery to counsel of record.

                                                 /s/ Ronald J. Eisenberg




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